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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 12-0434CCC
 1) MARIBEL RODRIGUEZ-FRAGOSO
 2) ANGEL HERNANDEZ-NUÑEZ
 3) VICTOR GONZALEZ-CRUZ
 4) JOSE DAVID SANJURJO-CARILLO
 5) ALEXANDER CALDERON-LOPEZ
 6) CARLOS NATAL-SILVA
 7) FELIX AQUINO-HIRALDO
 8) JOSE CASTRO-ARROYO
 9) CHRISTIAN ESCALERA-RODRIGUEZ
 10) EDWIN SAMUEL LISBOA-GARCIA
 11) JOSE E. NAVARRO-RIVERA
 12) LUIS D. VAZQUEZ-RIVERA
 13) NICOLAS RIVERA-LUCIANO
 14) LUIS AYALA-HERRERA
 15) MARIO MACEIRA-ESPIRITUSANTO
 16) HUGO E. OQUENDO-ALEJANDRO
 17) GERARDO I. BETANCOURT-ESTRELLA
 18) NELSON ORTIZ-CHERVONY
 19) ORSI GERMAN RODRIGUEZ-
 CONTRERAS
 20) RUDOLFO TORRES-CORTES
 21) JOSE OMAR CARABALLO-NIEVES
 22) EUGENE A. ROMERO-SANTIAGO
 23) ANGEL L. MORALES-SEDA
 24) ARMANDO MEDINA-GUZMAN
 25) JESUS MANUEL LAUREANO-PEREZ
 Defendants



                                         ORDER

       Having considered the Report and Recommendation filed on November 18, 2013
(docket entry 690) on a Rule 11 proceeding of defendant Nicolás Rivera-Luciano (13) held
before U.S. Magistrate Judge Bruce J. McGiverin on November 18, 2013, to which no
objection has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant is accepted. The Court FINDS that his plea was voluntary and intelligently
entered with awareness of his rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
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      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since November 18, 2013. The sentencing hearing is set for
February 25, 2014 at 4:30 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on December 6, 2013.




                                               S/CARMEN CONSUELO CEREZO
                                               United States District Judge
